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 1   Nicholas Strozza, Assistant United States Trustee
     State Bar #CA 117234
 2   Jared A. Day, Trial Attorney
     State Bar #CA 275687
 3
     Nick.Strozza@usdoj.gov
 4   Jared.A.Day@usdoj.gov
     UNITED STATES DEPARTMENT OF JUSTICE
 5   Office of the United States Trustee
     300 Booth Street, Room 3009
 6   Reno, NV 89509
 7   Telephone: (775) 784-5335
     Fax: (775) 784-5531
 8
     Attorneys for United States Trustee
 9   Tracy Hope Davis
10                              UNITED STATES BANKRUPTCY COURT
11
                                           DISTRICT OF NEVADA
12
      In re:                                              )   Jointly Administered under
13                                                        )   Case No. 18-50609-btb with
14    □ X-TREME BULLETS, INC.,                            )
                                                          )   Case Nos. 18-50610; 18-50611; 18-50613;
15    □ HOWELL MUNITIONS &                                )   18-50614; 18-50615; 18-50616; and
      TECHNOLOGY, INC.,                                   )   18-50617

      □ AMMO LOAD WORLDWIDE, INC.,
16                                                        )
                                                          )   Chapter 11
      □ CLEARWATER BULLET, INC.,
17                                                        )
                                                          )   NOTICE OF APPOINTMENT OF
18
      □ HOWELL MACHINE, INC.,                             )   COMMITTEE OF UNSECURED

      □ FREEDOM MUNITIONS, LLC,
19                                                        )   CREDITORS
                                                          )
20
      □ LEWIS-CLARK AMMUNITION                            )
                                                          )
21    COMPONENTS, LLC,                                    )
22    □ COMPONENTS EXCHANGE, LLC,                         )   Hearing Date: N/A

      ■ ALL DEBTORS
                                                          )   Hearing Time: N/A
23                                                        )

24             Pursuant to 11 U.S.C. § 1102(a), Tracy Hope Davis, the United States Trustee for Region
25   17, hereby appoints the following unsecured creditors to be members of the official committee of
26
     unsecured creditors:
27

28                                                    1
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 1
     1.   P Kay Metal, Inc.
 2        Attn: Larry Kay/Cindy Flame
          2448 E. 25th Street
 3        Los Angeles, CA 90058
          (323)-585-5058
 4
          Fax: (323) 585-1380
 5        larrykay@pkaymetal.com
          cindyflame@pkmetal.com
 6
          Identified Counsel:
 7        Tim Nuefeld
          315 W. 9th Street, Suite 501
 8
          Los Angeles, CA 90015
 9        (213) 229-2461
          Fax: 213-625-265
10        tneufeld@neufeldmarks.com
11   2.   Crow Shooting Supply
          Attn: Bryan Stuntebeck
12
          200 S. Front Street
13        Montezuma, IA 50171
          (641) 623-8523
14        Fax: (641)-623-8123
          bryan.stuntebeck@crowshootingsupply.com
15

16        Identified Counsel:
          Kesha Tanabe
17        4304 34th Ave S.
          Minneapolis, MN 55406
18        (612) 735-0188
          kesha@tanabelaw.com
19
     3.   Binary Anvil, Inc.
20        Attn: John Kraft
          22525 SE 64th Place, Suite 257
21
          Issaquah, WA 98027
22        (425) 557-3649
          Fax: (425) 557-3605
23
          Identified Counsel:
24        David E. Reed
25        11120 NE 2nd Street, Suite 200
          Bellevue, WA 98004
26

27

28                                          2
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 1   DATED this 23rd day of July, 2018.
 2                                               Respectfully submitted,
 3
                                                 Nicholas Strozza
 4                                               State Bar #CA 117234
                                                 Jared A. Day
 5                                               State Bar #CA 275687
                                                 300 Booth Street, Suite 3009
 6                                               Reno NV 89509
 7                                               (775) 784-5335 x109

 8                                               /s/ JARED A. DAY
                                                 Jared A. Day
 9                                               Attorneys for United States Trustee
                                                 Tracy Hope Davis
10

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 1                                    CERTIFICATE OF SERVICE
 2           I, ROBBIN LITTLE, under penalty of perjury declare: That declarant is, and was when
 3
     the herein described service took place, a citizen of the United States, over 18 years of age, and
 4
     not a party to nor interested in, the within action; that on July 23, 2018, I served a copy of the
 5
     foregoing NOTICE OF APPOINTMENT OF THE OFFICIAL COMMITTEE OF
 6

 7   UNSECURED CREDITORS by the following means as listed below:

 8   ☑       a. ECF System:

 9       •   LOUIS M. BUBALA lbubala@kcnvlaw.com,
             mmarsh@kcnvlaw.com;cbrimm@kcnvlaw.com
10
         •   SHAWN CHRISTIANSON schristianson@buchalter.com, cmcintire@buchalter.com
11       •   STEPHEN R HARRIS steve@harrislawreno.com,
             hannah@harrislawreno.com;norma@harrislawreno.com
12       •   JAY W. HURST jay.hurst@oag.texas.gov, sherri.simpson@oag.texas.gov
         •   TIMOTHY A LUKAS ecflukast@hollandhart.com
13       •   ROBERT E. OPERA ropera@wcghlaw.com,
14           pj@wcghlaw.com;stacyly@wcghlaw.com;Meir@virtualparalegalservices.com;Alevin@
             wcghlaw.com
15       •   AMY N. TIRRE amy@amytirrelaw.com, admin@amytirrelaw.com
         •   U.S. TRUSTEE - RN - 11 USTPRegion17.RE.ECF@usdoj.gov
16
     ☑       b. U.S. Mail, postage fully prepaid:
17

18           P Kay Metal, Inc.
             Attn: Larry Kay/Cindy Flame
19           2448 E. 25th Street
             Los Angeles, CA 90058
20

21           Tim Nuefeld
             315 W. 9th Street, Suite 501
22           Los Angeles, CA 90015

23           Crow Shooting Supply
             Attn: Bryan Stuntebeck
24           200 S. Front Street
25           Montezuma, IA 50171

26

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28                                                     4
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 1   Kesha Tanabe
     4304 34th Ave S.
 2   Minneapolis, MN 55406
 3
     Binary Anvil, Inc.
 4   Attn: John Kraft
     22525 SE 64th Place, Suite 257
 5   Issaquah, WA 98027
 6   David E. Reed
 7   11120 NE 2nd Street, Suite 200
     Bellevue, WA 98004
 8
     I declare under penalty of perjury that the foregoing is true and correct.
 9
     DATED this 23rd day of July, 2018.
10

11   /s/ Robbin Little
     ROBBIN LITTLE
12

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